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                         Exhibit 1
 (Witness Statement of Ian Herbert)




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                                                               Filed on behalf of: Counterclaimant / Applicant
                                                                                      Witness: Ian A. Herbert
                                                                                                    Number: 1
                                                                                                 20 July 2023
                                                                                                Exhibit IAH1

            IN THE HIGH COURT OF JUSTICE                                          Case No. HC-2016-002798
            BUSINESS AND PROPERTY COURTS
            OF ENGLAND AND WALES
            BUSINESS LIST (ChD)


            Assigned to: THE HON MR JUSTICE MICHAEL GREEN


            BETWEEN:

                                   RAS AL KHAIMAH INVESTMENT AUTHORITY
                                                       Claimant and Defendant to Counterclaim
                                                             -and-

                                                       FARHAD AZIMA
                                                              Defendant, Counterclaimant and Applicant
                                                             -and-

                                                  DAVID NEIL GERRARD
                                                          Second Additional Defendant to Counterclaim
                                                             -and-

                                                        DECHERT LLP
                                                             Third Additional Defendant to Counterclaim
                                                             -and-

                                      JAMES EDWARD DENISTON BUCHANAN
                                                    Fourth Additional Defendant to Counterclaim


                                                             -and-

                                         STOKOE PARTNERSHIP SOLICITORS
                                                                                                 Respondent

            ___________________________________________________________________________


                                    WITNESS STATEMENT OF IAN A. HERBERT

            ___________________________________________________________________________
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            I, Ian A. Herbert, of Miller & Chevalier Chartered, of 900 16th Street NW, Black Lives Matter
            Plaza, Washington, D.C. 20006, United States of America, SAY AS FOLLOWS:

            1.     I am counsel at Miller & Chevalier Chartered in Washington, D.C., and I am part of the
                   team that represents Farhad Azima in the United States.

            2.     The facts and matters set out in this statement are within my own knowledge unless
                   otherwise stated, and I believe them to be true. Where I refer to information supplied by
                   others, the source of the information is identified; facts and matters derived from other
                   sources are true to the best of my knowledge and belief.

            3.     There is now produced and shown to me a document marked “Exhibit IAH1” to which
                   reference will be made in the course of this statement in the form ‘[IAH1/[page number]’.

            4.     I make this statement in support of Farhad Azima in connection with his application for a
                   third-party disclosure order against Stokoe Partnership Solicitors (“Stokoe”) in respect of
                   a laptop Mr Nicholas Del Rosso seeks an order in respect of. Below I describe information
                   provided to me and my firm by CyberRoot Group (“CyberRoot”) concerning Mr. Del
                   Rosso.

            5.     Beginning in February 2023, CyberRoot, through its director Vijay Bisht, repeatedly
                   contacted Farhad Azima’s counsel at Miller & Chevalier (“M&C”), Kirby Behre, through
                   the text messaging application Signal, seeking to provide evidence Mr. Bisht said
                   supported Mr. Azima’s case against Vital Management Services and Nicholas Del Rosso
                   concerning the hacking of Mr. Azima. When asked for details about the information
                   CyberRoot wished to share, Mr. Bisht repeatedly insisted upon an in-person meeting to
                   provide CyberRoot’s information. Mr. Azima’s counsel declined to meet in person without
                   CyberRoot first indicating what they were prepared to admit to and what documentary
                   evidence they hold. M&C also asked what CyberRoot hoped to get out of an in-person
                   meeting, and they refused to say.

            6.     Mr. Bisht on behalf of CyberRoot eventually agreed to provide a preview of the evidence
                   CyberRoot possessed. In May 2023, CyberRoot asked M&C to communicate on a
                   messaging application called “Twinme,” a secure and encrypted end-to-end application for
                   (among other things) text messages. CyberRoot then sent M&C a series of text messages
                   on Twinme in which CyberRoot admitted to working with Mr. Del Rosso and others to

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                   successfully phish and hack Mr. Azima and others starting in 2016. Attached as Exhibit 1
                   is a true and correct copy of those text messages as received [IAH1/2-5].

            7.     Specifically, in the text messages, Mr. Bisht, on behalf of CyberRoot, admitted that:

                   7.1. Mr. Del Rosso first contacted CyberRoot in 2015 and asked CyberRoot to hack Mr.
                          Azima.

                   7.2. CyberRoot successfully hacked Mr. Azima and others beginning in 2016.

                   7.3. After obtaining Mr. Azima’s data by hack, CyberRoot sent that data to Mr. Del Rosso
                          via WeTransfer links via encrypted messaging applications.

                   7.4. In June 2016, Mr. Del Rosso asked CyberRoot to transfer the hacked data onto
                          laptops to be delivered to Mr. Neil Gerrard.

                   7.5. Mr. Gerrard instructed CyberRoot (through Mr. Del Rosso) to place the hacked data
                          on the Internet, which CyberRoot did.

                   7.6. In 2017, at Mr. Del Rosso’s instructions, CyberRoot delivered two mobile phones
                          and one iPad to Mr. Del Rosso for secure communication.

                   7.7. Vikash Pandey would be willing to “reverse” his prior witness statement.

            8.     To prove that CyberRoot was behind the hacking that Mr. Del Rosso and Mr. Gerrard
                   ordered, the Twinme text messages from Mr. Bisht also included the passwords of Mr.
                   Azima’s that CyberRoot had used to hack Mr. Azima.

            9.     CyberRoot said that they could provide additional information and corroboration if M&C
                   agreed to meet in person. CyberRoot refused to meet in the U.S. or Europe, and it was
                   eventually agreed that the parties would meet in Tokyo, Japan.

            10.    Kirby Behre and I met with CyberRoot directors Mr. Bisht and Mr. Chiranshu Ahuja in
                   person on June 20-21, 2023, in Tokyo. I recognized Mr. Ahuja from photos available on
                   the Internet. Mr. Bisht and Mr. Ahuja claimed to be speaking for CyberRoot and the
                   remaining director, Mr. Vibhor Sharma. At the meetings, CyberRoot again admitted to
                   hacking Mr. Azima at the direction of Mr. Del Rosso, Mr. Gerrard, and others, starting in
                   2015. CyberRoot provided more detail beyond what was included in the May 2023 text


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                   messages and presented some documentary support. For example, Mr. Bisht and Mr. Ahuja
                   admitted that:

                   10.1. Mr. Del Rosso continued to ask CyberRoot to attempt to target Mr. Azima and others
                          as late as 2020, and CyberRoot did so.

                   10.2. Mr. Del Rosso requested that CyberRoot attempt to hack Mr. Azima in 2019 to assist
                          Mr. Gerrard in an upcoming trial involving Mr. Azima, and CyberRoot did so.

                   10.3. Mr. Del Rosso requested CyberRoot target the email addresses of others, such as
                          cameron@riskprofiling.co.uk during 2018, and CyberRoot did so.

                   10.4. Mr. Del Rosso and Mr. Gerrard instructed CyberRoot to publish Mr. Azima’s stolen
                          data on the Internet, first in 2016 and then again in 2018 and 2019, which CyberRoot
                          did.

                   10.5. In 2017, Mr. Del Rosso stopped paying CyberRoot through Vital Management
                          Services because he was worried about the payments being traced back to him. He
                          used multiple other entities to make payments to CyberRoot, totalling more than $2.3
                          million.

                   10.6. After Mr. Azima sued Mr. Del Rosso in the United States in October 2020, Mr. Del
                          Rosso instructed CyberRoot to destroy all documents, but CyberRoot did not do so.

                   10.7. After this lawsuit was filed, Mr. Del Rosso’s lawyers, including Brandon Neuman
                          and Jeffrey Kelly, pressured Mr. Bisht and Mr. Vikash Pandey to sign false
                          statements denying the hacking of Mr. Azima.

            11.    After CyberRoot’s presentation admitting to hacking and related illegal activity,
                   CyberRoot for the first time explained what it was seeking. CyberRoot said that it wished
                   to be paid $20 million in exchange for documentation backing up the information they had
                   already provided. We rejected it as not being a serious request. CyberRoot also requested
                   “immunity.”

            12.    This week, Mr. Bisht used the settings within Signal and Twinme to delete text messages,
                   including the admissions attached to this statement. Mr. Bisht changed the settings on
                   Signal to delete messages after 24 hours and deleted portions of the text messages on


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                   Twinme attached to this statement, specifically those in which he confessed that
                   CyberRoot hacked Mr. Azima. I therefore prepared this witness statement.




                                                  STATEMENT OF TRUTH

            I believe that the facts stated in this witness statement are true. I understand that proceedings for
            contempt of court may be brought against anyone who makes, or causes to be made, a false
            statement in a document verified by a statement of truth without an honest belief in its truth.

            ……………………………….

            IAN A. HERBERT

            Dated: 20 July 2023




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                                                                                   Case No. HC-2016-002798

                                                                       IN THE HIGH COURT OF JUSTICE

                                                                     BUSINESS AND PROPERTY COURTS
                                                                               OF ENGLAND AND WALES
                                                                                     BUSINESS LIST (ChD)



                                                                        RAS AL KHAIMAH INVESTMENT

                                                                                               AUTHORITY

                                                                    Claimant and Defendant to Counterclaim

                                                                                                         -and-

                                                                                           FARHAD AZIMA

                                                                   Defendant, Counterclaimant and Applicant

                                                                                                         -and-

                                                                                             DECHERT LLP

                                                                Third Additional Defendant to Counterclaim

                                                                                                         -and-

                                                              JAMES EDWARD DENISTON BUCHANAN

                                                              Fourth Additional Defendant to Counterclaim

                                                                                                         -and-

                                                                   STOKOE PARTNERSHIP SOLICITORS

                                                                                                  Respondent



                                                                                      Burlingtons Legal LLP

                                                                                              5 Stratford Place

                                                                                            London W1C 1AX

                                                                                          Ref: DPH25/AZI.3/2

                                                    Solicitors for the Defendant, Counterclaimant and Applicant


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                          Exhibit 2
(Exhibit to Herbert Witness Statement)




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                                                                   Claim no. HC-2016-002798
B E T W E E N:


                     RAS AL KHAIMAH INVESTMENT AUTHORITY
                                             Claimant and Defendant to Counterclaim

                                        -and-
                                    FARHAD AZIMA
                                                           Defendant and Counterclaimant
                                       -and-
                                STUART ROBERT PAGE
                                               First Additional Defendant to Counterclaim
                                       -and-
                                DAVID NEIL GERRARD
                                             Second Additional Defendant to Counterclaim

                                        -and-
                                     DECHERT LLP
                                              Third Additional Defendant to Counterclaim

                                     -and-
                       JAMES EDWARD DENNISTON BUCHANAN
                                           Fourth Additional Defendant to Counterclaim


                 _________________________________________________________



                                     EXHIBIT IAH1


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                         Exhibit 3
       (Declaration of Ian Herbert)




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                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    CASE NO. 20-cv-954-WO-JLW

FARHAD AZIMA,

         Plaintiff,                           DECLARATION OF IAN A.
                                             HERBERT IN SUPPORT OF
         v.                                PLAINTIFF’S SUPPLEMENT TO
                                             HIS MOTIONS TO COMPEL
NICHOLAS DEL ROSSO and VITAL               PRODUCTION OF DOCUMENTS
MANAGEMENT SERVICES, INC.,                  (ECF No. 130) AND FURTHER
                                           DEPOSITION TESTIMONY (ECF
         Defendants.                                  No. 188)




        I, Ian A. Herbert, pursuant to 28 U.S.C. § 1746, do hereby declare

under penalty of perjury the following:

1.      I am counsel at the law firm of Miller & Chevalier Chartered, 900 16th

        Street NW, Washington, D.C., 20036. I am a member in good standing of

        the bar of the District of Columbia Bar and I have made a special

        appearance in this Court on behalf of Plaintiff Farhad Azima. ECF No.

        19.

2.      Recently, CyberRoot Group (“CyberRoot”) has provided to me and my

        firm information concerning this matter. I have included in this

        declaration the information that is most relevant to Mr. Azima’s

        Supplement to Plaintiff’s Motion to Compel, but not all information

        provided by CyberRoot.

3.      Beginning in February 2023, CyberRoot, through its director Vijay Bisht,

        repeatedly contacted Farhad Azima’s counsel at Miller & Chevalier

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        (“M&C”), Kirby Behre, through the text messaging application Signal,

        seeking to provide evidence Mr. Bisht said supported Mr. Azima’s case

        against Vital Management Services and Nicholas Del Rosso concerning

        the hacking of Mr. Azima. When asked for details about the information

        CyberRoot wished to share, Mr. Bisht repeatedly insisted upon an in-

        person meeting to provide CyberRoot’s information. Mr. Azima’s counsel

        declined to meet in person without CyberRoot first indicating what they

        were prepared to admit to and what documentary evidence they hold.

        M&C also asked what CyberRoot hoped to get out of an in-person

        meeting, and they refused to say.

4.      Mr. Bisht on behalf of CyberRoot eventually agreed to provide a preview

        of the evidence CyberRoot possessed. In May 2023, CyberRoot asked

        M&C to communicate on a messaging application called “Twinme,” a

        secure and encrypted end-to-end application for (among other things)

        text messages. CyberRoot then sent M&C a series of text messages on

        Twinme in which CyberRoot admitted to working with Mr. Del Rosso

        and others to successfully phish and hack Mr. Azima and others starting

        in 2016. Attached as Exhibit A is a true and correct copy of those text

        messages as received.

5.      Specifically, in the text messages, Mr. Bisht, on behalf of CyberRoot,

        admitted that:




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           a. Mr. Del Rosso first contacted CyberRoot in 2015 and asked

              CyberRoot to hack Mr. Azima.

           b. CyberRoot successfully hacked Mr. Azima and others beginning in

              2016.

           c. After obtaining Mr. Azima’s data by hack, CyberRoot sent that

              data to Mr. Del Rosso via WeTransfer links via encrypted

              messaging applications.

           d. In June 2016, Mr. Del Rosso asked CyberRoot to transfer the

              hacked data onto laptops to be delivered to Mr. Neil Gerrard.

           e. Mr. Gerrard instructed CyberRoot (through Mr. Del Rosso) to place

              the hacked data on the Internet, which CyberRoot did.

           f. In 2017, at Mr. Del Rosso’s instructions, CyberRoot delivered two

              mobile phones and one iPad to Mr. Del Rosso for secure

              communication.

           g. Vikash Pandey would be willing to “reverse” his prior witness

              statement.

6.      To prove that CyberRoot was behind the hacking that Mr. Del Rosso and

        Mr. Gerrard ordered, the Twinme text messages from Mr. Bisht also

        included the passwords of Mr. Azima’s that CyberRoot had used to hack

        Mr. Azima.

7.      CyberRoot said that they could provide additional information and

        corroboration if M&C agreed to meet in person. CyberRoot refused to



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        meet in the U.S. or Europe, and it was eventually agreed that the parties

        would meet in Tokyo, Japan.

8.      Kirby Behre and I met with CyberRoot directors Mr. Bisht and Mr.

        Chiranshu Ahuja in person on June 20-21, 2023, in Tokyo. I recognized

        Mr. Ahuja from photos available on the Internet. Mr. Bisht and Mr.

        Ahuja claimed to be speaking for CyberRoot and the remaining director,

        Mr. Vibhor Sharma. At the meetings, CyberRoot again admitted to

        hacking Mr. Azima at the direction of Mr. Del Rosso, Mr. Gerrard, and

        others, starting in 2015. CyberRoot provided more detail beyond what

        was included in the May 2023 text messages and presented some

        documentary support. For example, Mr. Bisht and Mr. Ahuja admitted

        that:

           a. Mr. Del Rosso continued to ask CyberRoot to attempt to target Mr.

                Azima and others as late as 2020, and CyberRoot did so.

           b. Mr. Del Rosso requested that CyberRoot attempt to hack Mr.

                Azima in 2019 to assist Mr. Gerrard in an upcoming trial involving

                Mr. Azima, and CyberRoot did so.

           c. Mr. Del Rosso requested CyberRoot target the email addresses of

                others, such as cameron@riskprofiling.co.uk during 2018, and

                CyberRoot did so.




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           d. Mr. Del Rosso and Mr. Gerrard instructed CyberRoot to publish

              Mr. Azima’s stolen data on the Internet, first in 2016 and then

              again in 2018 and 2019, which CyberRoot did.

           e. In 2017, Mr. Del Rosso stopped paying CyberRoot through Vital

              Management Services because he was worried about the payments

              being traced back to him. He used multiple other entities to make

              payments to CyberRoot, totalling more than $2.3 million.

           f. After Mr. Azima sued Mr. Del Rosso in this proceeding in October

              2020, Mr. Del Rosso instructed CyberRoot to destroy all

              documents, but CyberRoot did not do so.

           g. After this lawsuit was filed, Mr. Del Rosso’s lawyers, including

              Brandon Neuman and Jeffrey Kelly, pressured Mr. Bisht and Mr.

              Vikash Pandey to sign false statements denying the hacking of Mr.

              Azima.

9.      After CyberRoot’s presentation admitting to hacking and related illegal

        activity, CyberRoot for the first time explained what it was seeking.

        CyberRoot said that it wished to be paid $20 million in exchange for

        documentation backing up the information they had already provided.

        We rejected it as not being a serious request. CyberRoot also requested

        “immunity.”

10.     This week, Mr. Bisht used the settings within Signal and Twinme to

        delete text messages, including the admissions attached to this



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     statement. Mr. Bisht changed the settings on Signal to delete messages

     after 24 hours and deleted portions of the text messages on Twinme

     attached to this statement, specifically those in which he confessed that

     CyberRoot hacked Mr. Azima.         I therefore prepared this witness

     statement.



     I declare under penalty of perjury that the foregoing is true and correct.

Executed on July 20, 2023, in Washington, D.C.



                                   _____________________________
                                   Ian A. Herbert




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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    CASE NO. 20-CV-954-WO-JLW


FARHAD AZIMA,

      Plaintiff,

      v.
                                           CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.



     I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
Declaration to the following attorneys:
      Brandon S. Neuman, Esq.
      John Branch, III, Esq.
      Jeffrey M. Kelly, Esq.
      Nathaniel J. Pencook, Esq.
      NELSON MULLINS RILEY & SCARBOROUGH, LLP
      301 Hillsborough Street, Suite 1400
      Raleigh, NC 27603
      brandon.neuman@nelsonmullins.com
      jeff.kelly@nelsonmullins.com
      nate.pencook@nelsonmullins.com
      john.branch@nelsonmullins.com
      Tel.: 919.329.3800
      Fax.: 919.329.3799




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 Samuel Rosenthal, Esq.
 NELSON MULLINS RILEY & SCARBOROUGH LLP
 101 Constitution Ave NW, Suite 900
 Washington, DC 20001
 Tel.: 202-689-2951
 Fax: 202-689-2860
 sam.rosenthal@nelsonmullins.com

 Counsel for Defendants




 This, the 20th day of July, 2023.


                                WOMBLE BOND DICKINSON (US) LLP

                                 /s/ Ripley Rand
                                Ripley Rand
                                North Carolina State Bar No. 22275
                                555 Fayetteville Street, Suite 1100
                                Raleigh, NC 27601
                                Telephone: (919) 755-8125
                                Facsimile: (919) 755-6752
                                Email:     ripley.rand@wbd-us.com


                                Counsel for Plaintiff




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    Exhibit A to
Declaration of Ian A.
      Herbert




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                         Exhibit 4
(Proposed Settlement Agreement and
      Consulting Agreement)




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CONFIDENTIAL SETTLEMENT AGREEMENT
CONFIDENTIAL PURSUANT TO FRE 408

                      RELEASE AND SETTLEMENT AGREEMENT

This Settlement Agreement and Release (the “Settlement Agreement” or “Agreement”) is
entered into as of July __, 2023 (the “Effective Date”), by and among Farhad Azima (“Azima”),
a Missouri individual, and CyberRoot Risk Advisory Pvt. Ltd. (“CyberRoot”), an Indian limited
company whose principal place of business is India, and Vijay Bisht, Chiranshu Ahuja, and
Vibhor Sharma, all Indian individuals in their personal capacities and as directors of CyberRoot
(“CyberRoot Parties”) (collectively, the “Parties”).

WHEREAS, the Parties have disputes (“Disputes”) with each other, including those stemming
from allegations of computer hacking;

WHEREAS, the Parties desire to fully and finally settle all disputes between them on the terms
set forth in this Settlement Agreement;

WHEREAS, the Parties, directly or through their counsel, met for two days in Tokyo on June 20
and 21, and during those meetings the CyberRoot Parties confirmed that Nicholas Del Rosso
hired CyberRoot to hack Azima and others and publish Azima’s hacked data online; that Del
Rosso paid CyberRoot through his company Vital Management Services, Gravitas International
LLC, and other companies; that CyberRoot provided Azima’s hacked data to Del Rosso through
WeTransfer and to Dechert’s Neil Gerrard through laptops created at Gerrard’s request; that Del
Rosso and Gerrard asked CyberRoot to hack Azima several times including in 2018 and 2019;
and that Del Rosso ordered CyberRoot to delete relevant data after Azima had initiated a lawsuit
against Del Rosso and Vital in October 2022;

WHEREAS, each Party acknowledges that it will derive substantial benefit from this Settlement
Agreement and that it is receiving fair consideration for the exchanges and releases contemplated
herein; and

NOW, THEREFORE, in consideration of the mutual promises, covenants, and obligations
contained herein and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the Parties hereby agree as follows:

1.     Release of CyberRoot Parties.

(a)     Azima hereby waives, releases, and forever discharges the CyberRoot Parties from any
and all claims and causes of action of every kind and nature whatsoever that are in any way
related to, connected to, or arising out of, from or under the Disputes.

(b)     Expressly excluded from the release contained in Section 1(a), however, are (i) any and
all claims by Azima to enforce any of his rights and remedies under this Settlement Agreement
and (ii) the obligations of the CyberRoot Parties under this Settlement Agreement.

2.     Release of Azima.

(a)    The CyberRoot Parties do hereby waive, release, and forever discharge Azima from all
claims and causes of action of every kind and nature whatsoever that are in any way related to,
connected to, or arising out of, from or under the Disputes.

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(b)     Expressly excluded from the release contained in Section 2(a), however, are (i) any and
all Claims by the CyberRoot Parties to enforce any of their rights and remedies under this
Settlement Agreement and (ii) the obligations of Azima under this Settlement Agreement.

3.     Covenant Not to Sue. The Parties agree that they shall never, individually or with or
through any other person or entity, commence, prosecute, or cause or permit to be commenced or
prosecuted, any action or other proceeding (including but not limited to litigation, arbitration,
enforcement action, administrative proceeding, or proceeding in any other tribunal) based on any
claim or Potential Claim that is the subject of this Agreement.

4.      Settlement Obligations. Following execution of this Settlement Agreement, the
CyberRoot Parties agree to provide access to Azima to all non-privileged documents in the
possession, custody, or control of the CyberRoot Parties that relate to Azima. Access will be
provided to Azima’s attorneys, including but not limited to Miller & Chevalier, within seven
days of a request made by Azima. The CyberRoot Parties also agree to explain and discuss with
Azima’s attorneys the documents at the time access is provided. The CyberRoot Parties agree
that those documents may be used by Azima for any purpose in any pending or future litigation.
The Parties agree and understand that this Paragraph is a material term of this Agreement, and
breach of this term will permit Azima to seek redress, including but not limited to cancellation of
this Agreement for such breach and a suit regarding both the breach and the underlying claims
this Agreement seeks to resolve.

5.      Confidentiality. The Parties and their attorneys, if any, agree to keep the terms and
conditions of this Settlement Agreement, and the existence thereof, confidential. Except as
required by subpoena or an order of a court of competent jurisdiction or as otherwise required by
law, the contents, terms and conditions, and the negotiations or consideration for this Settlement
Agreement shall not be disclosed to any individual or entity, except for the Parties’ respective
legal or financial advisors in the context of obtaining legal or financial advice.

6.       Entire Agreement. This Settlement Agreement, including the recitals, represents the
entire agreement of the Parties with respect to the subject matter hereof. This Settlement
Agreement may not be modified, changed, amended, supplemented or rescinded except pursuant
to a written instrument duly executed by all the Parties. Each Party acknowledges and agrees that
it shall not make any claim, at any time, that this Settlement Agreement has been orally altered
or modified in any respect whatsoever.

7.       Interpretation. The language of this Settlement Agreement shall be construed as a whole
according to its fair meaning. Notwithstanding the foregoing, the paragraph headings in this
Settlement Agreement are included for convenience only, and do not in any way define, limit,
alter, affect or control the matters contained in this Settlement Agreement.

8.     Amendment. This Settlement Agreement shall not be amended except in a writing
signed by each of the Parties.

9.     Severability. The provisions of this Settlement Agreement are severable, and if any
provision or any portion of any provision of this Settlement Agreement is at any time deemed,
found or declared by a court of competent jurisdiction to be invalid or unenforceable, then such

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provision, or any portion of any such provision, if severed from the remainder of the Settlement
Agreement without substantially affecting the consideration to be received by any Party hereto,
shall be deemed to be deleted as if never included herein. Such an invalid or unenforceable
provision, or any portion of such a provision, shall not affect the validity of the remainder of this
Settlement Agreement, and the remaining provisions shall continue in full force and effect.

10.    No Waiver. No waiver or indulgence of any breach or series of breaches of this
Settlement Agreement shall be deemed a waiver of any other breach of this Settlement
Agreement or any of its provisions or affect the enforceability of the remainder of this Settlement
Agreement.

11.     Choice of Law. Any dispute, claim or controversy arising out of or relating to this
Settlement Agreement or the breach, termination, enforcement, interpretation or validity thereof,
including the determination of the scope or applicability of this Agreement to arbitrate, shall be
determined by arbitration in Washington, D.C. before a sole arbitrator in accordance with the
laws of the District of Columbia. The arbitration shall be administered by JAMS pursuant to its
Comprehensive Arbitration Rules and Procedures. Judgments on the award may be entered in
any court having jurisdiction. The arbitrator, shall, in the award, allocate all of the costs of the
arbitration, including the fees of the arbitrator and the reasonable attorneys' fees of the prevailing
party, against the party who did not prevail.

12.     Comprehension. Each Party acknowledges to the other Parties that it has been
represented by independent legal counsel of its own choice, or has had the opportunity to seek
legal counsel, throughout all of the negotiations which preceded the execution of this Settlement
Agreement and that it has executed this Settlement Agreement with the consent and on the
advice of such independent legal counsel, if so retained. Each Party further acknowledges that it
and its counsel, if any, have had adequate opportunity to make whatever investigation or inquiry
they may deem necessary or desirable in connection with the subject matter of this Settlement
Agreement prior to the execution hereof.

13.    Counterparts. This Settlement Agreement may be executed in two or more counterparts
and/or by facsimile, each of which shall be deemed an original and any set of which, when taken
together, shall constitute one and the same instrument and be sufficient proof of the instrument
so constituted.

14.     Release as Defense to Any Further Action. This Settlement Agreement may be pleaded
as a full and complete defense to any action, suit, or other proceeding that may be instituted or
prosecuted with respect to any of the Disputes released hereby. Each of the Parties fully agrees
that the Settlement Agreement may be pleaded as necessary for the purpose of enforcing the
Settlement Agreement in any court of competent jurisdiction. This release, however, does not
include any claims arising out of a failure of a party to perform in conformity with the terms of
this Settlement Agreement.

15.    Representations and Warranties. Each Party signing this Settlement Agreement
represents and warrants that (i) it has read and understands the terms of the Settlement
Agreement and that such Party is duly authorized to execute and deliver this Settlement
Agreement and to perform its obligations hereunder, and has taken all necessary actions to

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authorize such execution, delivery, and performance; (ii) such Party has not assigned, pledged,
hypothecated or otherwise in any manner whatsoever sold, or transferred or abandoned, either by
instrument or writing, operation of law or otherwise, any right, title, or interest in any Potential
Claim of any kind subject to the releases contained herein; (iii) there are no third-party
beneficiaries to this Settlement Agreement; (iv) the person signing this Settlement Agreement
was duly authorized to do so on the date this Settlement Agreement was executed by such
person; (v) this Settlement Agreement constitutes its legal, valid, and binding obligation,
enforceable against it in accordance with its terms; and (vi) its execution and delivery of this
Settlement Agreement does not contravene, or constitute a default under, any provision of
applicable law or regulation (including any order, decree, judgment, injunction, or other judicial
or governmental restriction applicable to such Party or any portion of its assets) or the formation
agreements or governing instruments of such Party or of any such other material agreement,
judgment, injunction, order, decree or other instrument binding upon such Party.

16.     Costs of Settlement. All costs of settlement shall be borne by each respective Party or
their indemnifier, including but not limited to, any attorneys’ fees or other professional fees and
court costs, if any.

17.      Disclaimer of Warranties. The Parties expressly represent that they have had full access
to all information made the subject of this Settlement Agreement and that each Party’s decision
to consummate this Settlement Agreement is expressly predicated upon its own investigation of
such material and is not predicated upon any representations, warranties or covenants of the
other Party except as expressly set forth in this Settlement Agreement.

THE PARTIES FURTHER STATE THAT THEY HAVE CAREFULLY READ THIS
SETTLEMENT AGREEMENT, WHICH INCLUDES A RELEASE BY THEM OF CLAIMS,
THAT THEY HAVE HAD SUFFICIENT TIME TO REVIEW THE SETTLEMENT
AGREEMENT AND CONSULT WITH SUCH ADVISORS AS THEY DEEM
APPROPRIATE, THAT THEY FULLY UNDERSTAND THE FINAL AND BINDING
EFFECT OF THE SETTLEMENT AGREEMENT, THAT THE ONLY PROMISES MADE
ARE THOSE STATED HEREIN AND THAT THEY ARE SIGNING THIS SETTLEMENT
AGREEMENT KNOWINGLY AND VOLUNTARILY AND WITH THE FULL INTENT OF
RELEASING THE OTHER PARTY AND ITS AFFILIATED PERSONS AND ENTITIES IN
THE MANNER DESCRIBED HEREIN.

IN WITNESS WHEREOF, the Parties have executed this Settlement Agreement as of the date
written above.

                                    [Signature Page Follows]




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Farhad Azima                        Date




CyberRoot Risk Advisory Pvt. Ltd.   Date
By [      ]




Vijay Bisht                         Date
Director
CyberRoot Risk Advisory Pvt. Ltd.




Chiranshu Ahuja                     Date
Director
CyberRoot Risk Advisory Pvt. Ltd.




Vibhor Sharma                       Date
Director
CyberRoot Risk Advisory Pvt. Ltd.




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                                                                    Kirby Behre
                                                                    Member
                                                                    (202) 626-5960
                                                                    kbehre@milchev.com

                                                            July XX, 2023

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Vijay Bisht, Director
Chiranshu Ahuja, Director
Vibhor Sharma, Director
CyberRoot Risk Advisory Pvt. Ltd.
[Address]

Dear Messrs. Bisht, Ahuja, and Sharma:

         This letter (the "Agreement") formalizes the retention of CyberRoot Risk Advisory Pvt.
Ltd. ("CR"), through its directors Vijay Bisht, Chiranshu Ahuja, Vibhor Sharma (the "Directors"),
as a consultant to provide research, analysis, and/or consulting services for the purpose of
assisting Miller & Chevalier Chartered ("Miller" or the "Firm") in rendering legal services to its
client, Farhad Azima (the "Client"), relating to Azima v. Del Rosso, No. 1:20-cv-954 (MDNC) (the
" Litigation"). Miller and CR are hereinafter referred to individually as a "Party" and/or
collectively as the "Parties."

       1.      Engagement

       On behalf of our Client, Miller has retained CR in order to obtain its research, analysis,
and/or consulting services on matters relating to the Litigation (hereinafter referred to as the
“Engagement”). CR and Miller agree that, among other services, CR shall:

   1. Review and analyze documents, data, case statements and legal briefs, and other
      information made available in the Litigation, at the direction of counsel;

   2. To the extent permitted by law, provide access to and analysis of non-privileged
      documents in its possession or control relevant to the claims and defenses in the
      Litigation, at the direction of counsel;

   3. Provide information and assistance to Miller related to the Litigation, as directed by
      counsel, including by assisting in preparation for depositions, submitting to informal
      interviews, and the preparation of sworn affidavits, declarations, and witness
      statements, and oral presentation of evidence in court.

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These services are solely for the benefit of the Firm in its advisement of the Client.

        CR will work at the Firm's direction and will report directly and exclusively to the Firm.
CR understands that it has not been retained to render advice of any nature directly to the
Client, regardless of whether the advice is with respect to any matters related to the Firm's
representation of the Client or to the Firm's rendering of legal services to the Client.

       2.       Performance

        CR may not retain any person or entity to assist with this Engagement without Miller’s
permission. No employee of CR other than the Directors may assist with this Engagement
without Miller’s permission. The Directors may not share documents, data, or information
provided to them by Miller with any other person, without the prior written consent of Miller.
Miller shall have the right to vet and approve any employee of CR or any other third party who
CR seeks to use for this Engagement. If CR seeks to engage persons or entities beyond the
Directors, CR shall append such names to Appendix A and provide a copy to the Firm. In its
discretion, Miller will vet any persons or entities listed on Appendix A and advise CR whether CR
may retain said persons or entities for purposes of the Engagement.

         CR, its Directors, and any person or entity retained by CR shall engage only in lawful
activities. This means that they must not engage in any activity, undertaking, or project that is
unlawful or illegal under the laws of the United States, any state of the United States, or any
other jurisdiction in which the relevant work is to be performed.

        CR, its Directors, and any person or entity retained by CR to assist with this Engagement
shall abide by the protective order entered in the Litigation, which is attached here as Appendix
B.

       3.       Compensation

       In consideration of the services that CR has agreed to perform, the Client has agreed to
ensure payment of CR at a standard rate of $500 per hour, plus reasonable costs. In addition,
CR shall be entitled to reimbursement for its time attending the meetings with Azima’s counsel
in Tokyo on June 20 and June 21 at this rate, plus reasonable expenses.

        CR shall submit to the Firm an invoice describing in detail the services provided by CR
pursuant to this Agreement and the hours attributable to each task performed by each person.
The invoice shall be marked "Privileged and Confidential." The Firm will include CR's invoice as a
cost of the Firm's representation of Client. When the Firm receives payment for CR's invoices
from its Client, the Firm will make payment to CR. The Client is solely responsible for ensuring
payment of CR's bills, and the Firm confirms that it has been authorized by the Client to retain

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CR for this matter and that payment to CR of the compensation to which the Parties have
agreed will be made. Miller shall not be responsible for any payment due under this
Agreement.

       4.       Consent to Arbitration of Disputes

        Any dispute, claim or controversy arising out of or relating to this Agreement or the
breach, termination, enforcement, interpretation or validity thereof, including the
determination of the scope or applicability of this Agreement to arbitrate, shall be determined
by arbitration in Washington, D.C. before a sole arbitrator in accordance with the laws of the
District of Columbia. The arbitration shall be administered by JAMS pursuant to its
Comprehensive Arbitration Rules and Procedures. Judgments on the award may be entered in
any court having jurisdiction. The arbitrator, shall, in the award, allocate all of the costs of the
arbitration, including the fees of the arbitrator and the reasonable attorneys' fees of the
prevailing party, against the party who did not prevail.

       5.       Confidentiality

        As noted above, the purpose of the Engagement is to enable counsel to render legal
advice to the Client in connection with the Litigation. All information that Miller discloses to CR,
all requests that Miller makes to CR, and any information that CR learns from anyone else
regarding these matters as a result of its work in connection with the Engagement, whether
orally or in writing, is to remain strictly confidential unless authorized by Miller or otherwise
disclosable pursuant to this Paragraph. The existence of this agreement is to remain strictly
confidential unless authorized by Miller or otherwise disclosable pursuant to this Paragraph.
Communications between CR and the Firm and/or the Client, the Parties’ work product, and all
information and data received from the Firm or the Client related to the Engagement are, in
each case, covered by attorney-client privilege and/or the work product doctrine, or both. In
addition to maintaining the confidentiality of all information and data CR receives from the Firm
or the Client as a result of the Engagement, CR also agrees that any documents or information
provided to CR during the course of its consultation are also to be kept confidential, and shall
be returned to the Firm at the conclusion of its services under this Agreement. All
correspondence between CR and the Firm shall be marked as "Privileged and Confidential."

       This Agreement does not prohibit the use or disclosure of confidential information to
the extent that such confidential information is required to be disclosed by law or by order of a
court of competent jurisdiction; or at the time of disclosure being made, is in the public domain
other than through a breach of this Agreement.

        Unless provided otherwise by law, CR shall notify the Firm promptly and before
disclosure if any confidential information is required to be disclosed and shall co-operate with



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the Firm regarding the scope, manner and timing of such disclosure and in any action which
may be taken to challenge the validity of such requirement.

        CR and the Firm further agree that the services and any work product provided in
accordance with this Agreement are confidential and exclusively for the benefit of the Client.
CR further agrees that it will not disclose the existence or content of this Agreement or of CR’s
services or work product to any third party, other than a director, employee, authorized agent
or subcontractor of the Client or of the Firm, without the Firm’s prior written consent. Such
consent is not to be unreasonably withheld, and disclosure is permitted to the extent necessary
for the Parties to comply with any applicable law or regulation.

       6.       Effective Date

       This Agreement is effective on the date it is signed by all parties.

       7.       Termination

        This Agreement shall remain in effect until Miller notifies CR that no additional services
of are required. This Agreement may otherwise be terminated on written notice by Miller at
any time and for any reason.

        Whether or not this Agreement is terminated, CR agrees not to work for any other
person or entity with respect to the Litigation unless authorized to do so by the Firm. The
confidentiality obligations discussed above will also continue subsequent to the termination of
this Agreement.


                                  *               *               *

        By signing below, CR agrees not to use any of the work it does at the Firm's instruction
(as outlined above) for any purpose other than the Engagement, or to disclose the existence of
this engagement. Further, CR agrees not to advertise the work it does at the Firm’s instruction
(as outlined above) or disclose it to anyone (except to such other persons as are expressly
authorized by the Firm), either in writing or orally.

        The terms of this Agreement may not be waived except by express written consent. If
the terms outlined in this letter are acceptable, please sign the letter in the space below and
return the original to Miller, keeping a copy for your file.

       We look forward to working with you.

                                                          Very truly yours,


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                                                          Kirby D. Behre
                                                          of MILLER & CHEVALIER CHTD.
ACCEPTED AND AGREED:



CyberRoot Risk Advisory Pvt. Ltd.              Date
By [     ]




Vijay Bisht                                    Date
Director
CyberRoot Risk Advisory Pvt. Ltd.




Chiranshu Ahuja                                Date
Director
CyberRoot Risk Advisory Pvt. Ltd.




Vibhor Sharma                                          Date
Director
CyberRoot Risk Advisory Pvt. Ltd.




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